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                     EXHIBIT 2
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   From: Eckstein, Maya
   Sent: Monday, July 31, 2023 6:21 PM
   To: David Yerushalmi; Elliker, Kevin
   Cc: 'C. Page'; Powell, Lewis; King, Jeremy
   Subject: RE: Plaintiffs Document Production in Response to RMast RFPs

   Mr. Yerushalmi,

   We write in response to your request that Plaintiffs identify the requests for production to which each
   document they produced is responsive. You accuse Plaintiffs of a “class document dump.” We reject
   that notion and, regardless, any difficulty you are having in navigating the documents is a situation of
   your own making.

   First, Plaintiffs produced documents as they are maintained by the Does in the ordinary course of
   business. While the Does themselves are not “in business,” the documents were produced as the Does
   regularly maintained the documents – including in their counsel’s files. For example, many of the
   documents that Plaintiffs produced to you are documents that your client, Richard Mast, produced on
   behalf of his clients, Joshua and Stephanie Mast, in the state court litigation. Others are documents
   otherwise received from various non-parties to that litigation. These documents are maintained in
   counsel’s files and were produced to you as they are kept in the ordinary course of business. Having
   produced or received the same documents in the circuit court action, your client certainly is intimately
   familiar with their content.

   Second, Plaintiffs produced these documents with metadata that includes various fields – including To,
   From, CC, Subject, Sent Date, Received Date, and Custodian, among others – which are viewable and
   searchable by you, thereby allowing you to easily navigate through them.

   Third, we note that your Requests for Production asked for TIFF images with searchable text of ESI. See
   Defendant Richard Mast’s First Set of Requests for Production to Plaintiffs John Doe and Jane Doe,
   Definitions and Instructions 24 and 25. We were prepared to produce the documents to you in that
   format, but instead produced PDF images at your subsequent request, made in the April 20, 2023 meet
   and confer held with Mr. Elliker and Mr. King. If you would like us to now re-produce searchable TIFF
   images of the documents, we are happy to do so. Let us know.

   Accordingly, Plaintiffs have met their obligations under Fed. R. Civ. P. 34. Let us know if you have
   additional questions.

   Relatedly, I note that we recently did a refresh collection from our client’s cell phones. We are now in
   the process of reviewing for production the newly-collected information and will produce responsive
   information in due course.

   Finally, you have yet to respond to the attached email that Mr. Elliker sent to you on July 7, 2023. Please
   provide a response by the end of this week.

   Thank you.

   Maya
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